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FEB 13 2002 `

_UNITED STATES~DISTRICT coURT
. for the _
DISTRICT OF'COLUMBIA`

     

______________________ ____-__H__H__X
SECURITIES AND EXCHANGE COMMISSION`: _ _
450 E;£th,gtreet' NW z ' saga EEMBER 1202€¥09232
Waehington; DC 20549, -
JUDGE: ammar G, aaiizvan
Plaintiff,

V' nasa TYPE= eeneral Civii

NUNZIO neSANTIS ana v na@n araaa= a2z13f2002
INTERNATIONAL THOROUGHBRED - = @_ iiiii ` '_€ _______ 4__*“
.BREEDERS, rNc., - 1 -

 

Defendanta.

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lcoMPLAINT

Plaintiff Seouritiee and Exchange Commiseion (the

"SECV) alleges as followe:

NATURE OF THE CASE

1. The SEC brings this action againet Nunzio
DeSantiS (“DeSantis”) for violations of the federal
eeonritiee laws While an officer and director of two
publicly traded oompanies, International Thoroughbred
Breeders, Inc..(“ITB”) and AutoLend Group, Ino. §
(“AutoLend”). DeSantiS aided and abetted ITB’S failure to
`diecloee and properly account for certain related party
transactions in ita Forme 10~Q for the quarters ended
December 31,'1996 and Maroh 31, 1997, With respect to

AutoLend, DeSantie engaged in a echeme to defraud the

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holders of AutoLend’s.Q.B% convertible subordinated
debentures (“the Bonds”) during a self tender offer made on
October 22, 1996_to the AntoLend bondholders. DeSantis
also aided and abetted AutoLend's failure to disclose
related party transactions in the company’s-December 3l,

1996_F0rm io-Q ana in its March 31, 1997 Form`io-K.

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2. This Court has jurisdiction over this action
pursuant to Sections 21(e} and 27 of the EXchange Act [157
U.S.C. § TSu(e) and 78aa]. Defendants have, directly or
lindirectly, made use of the means or instrumentalities of
interstate commerce and/or of the mails in connection with

the transactions described in this Complaint.

DEFENDANTS AND RELATED ENTITY

 

3. Defendant Nunzio DeSantis (“DeSantis”) was a
board member and chief executive officer of International
`Thoroughbred.Breeders,.Inc. (“lTB”) at all relevant times.
DeSantis was also chairman of the boardl president and
chief executive officer of AutoLend Group, Inc. at all
relevant times. DeSantis resigned from ITB in danuary
1999, and resigned as a director of AutoLend in May 2000
and as an employee and officer in September 2000. DeSantis

lives in Albnquerque, New Mexico.

4. befendant International Thoroughbred Breeders,

Inc.'(“lTB” or the “company”) is a Delaware corporation

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headquartered in New Jersey. During the relevant period,
ITB owned and operated two_racetracks in New Jersey. VITB's
common stock is registered with the Commission pursuant to_
Section 12(g) of the Exchange Act [15 U.S.C. § 78l(b)] and
was traded on the American Stock Exchange until Angust
1998, when it was delisted. During the relevant Period,
ITB filed periodic.reports with the SEC pursuant to Section

lB(al of the Exchange Act [lB.U.S.C. § 78m(a}]. ITB‘s

fiscal year ends June 30.

5.-` AutoLend Group, Inc. {AutoLend”) is\a publicly
traded Delaware corporation located in Albuquergue, New
Mexico. AutoLend was listed in the Nasdaq Small Capital
Market until May 21¢ 1996 and the Boston Stock Exchange
until August_20, 1996., AutoLend currently trades on the l

pink sheets.

SUBSTANTIVE ALLEGATIONS CONCERNING
INTERNATIONAL THOROUGHBRED BREEDERS, INC.

 

ITB's December 31, 1996 Form 10-Q

 

6. Immediately after taking control of ITB in
January 1997, DeSantis caused the company to issue a
$150,000 check to Autolend, which was then experiencing
financial difficulties. The purpose of this payment was
purportedly to reimburse.Autolend for financing charges

incurred on ITB's behalf in December 1996.

7. On February 15, 1997, ITB filed with the SEC its

Form lO-Q for the quarter ended December 31, 1996. In the

 

     

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financial statements contained in the December 31 Form 10~
Q, ITB failed to_record an expense for the $150,00 Autolend
payment, as required by generally accepted accounting
principles. As a result, ITB's loss for the quarter was
materially understated by $150,000 or approximately 5
percent` The December 31 Form 10-Q also failed to disclose
the related-party nature of the Autolend payment, as
required by Item 404 of Regulation S-K [17 C[F.R. §

229.404].

31 ITB knew, or was reckless in not knowing, that
the December 31 Form 10~Q failed to disclose and properly
account for the Autolend payment and that, as a result, the
December 31 Form lO-Q was materially false and misleading.
DeSantis knowingly provided substantial assistance to those

`disclosure and accounting failures.

ITB’s March 31, 1997 Form 10-Q

 

9. In February 1997, DeSantis caused the company to
begin paying salaries and operating expenses for Southwest
Jet. A`corporate airline charter service, Southwest Jet
had no assets of its own and operated an airplane partially
owned by DeSantis.- DeSantis‘ twenty-three year old son
operated Southwest Jet. Around the same time, DeSantis
placed his personal cook on the ITB payroll. As of March
31, 1997, ITB's payments on behalf of Southwest Jet and

DeSantis' cook totaled approximately $160,000.

 

 

 

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`10. on May 20, 1997, ITB filed with the ssc its Form
10-Q for the quarter ended March 31, 1997. In the l
financial statements contained in the March 31 Form 10-Q,
ITB.failed to disclose the related-party nature of its
payments on behalf of Southwest Jet and DeSantis’.cook, as
required by Item 404 of Regulation S-K [17 C.F.R. §
229.404]. These payments were instead recorded as part of

general and administrative expenses.

11. The approximately $160,000 ITB Paid on behalf of
Southwest Jet and DeSantis’ cook as of March 31, 1997,
constituted approximately 10 percent of.lTB’s net loss for

the quarter and contributed to a cash-flow crisis.

12. ITB knew, or was reckless in not knowing, that
the March 31 Form 10~Q failed to disclose the company’s
payments on behalf of Southwest Jet and DeSantis’ cook and
that, as a result, the March 31 Form 10-Q was materially
false and misleading. DeSantis knowingly provided

substantial assistance to that disclosure failure.

13. In 1999, DeSantis repaid the personal expenses
described above when he sold his personal holding in ITB

stock back to the company.

SUBSTANTIVE ALLEGATIONS CONCERNING
AUTOLEND GROUP, INC.

 

Baokground

14. In_l991, AutoLend’s predecessor,_CAPX, raised

approximately $51.4 million through the offer and sale of

 

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the Bonds to European investors for the stated purpose of
purchasing viatical settlement portfolios. The Bonds were
not registered with the Commission, were sold only in

Europe, and matured on September 19, 1997.

15. In March 1994, CAPX established AutoLend as a
consumer finance company and a subsidiary of CAPX. In July
1994, CAPX sold most of its viatical settlement business

and in February 1995, changed its name to AutoLend.

.161 During 1994 and 1995, AutoLend suffered financial

difficulties but continued to timely service the Bonds.-

17. ln December 1995, DeSantis and others filed a
shareholders derivative suit against AutoLend’s Chief
Executive Officer and others. On September 18, 1996, as
part of a settlement of that suit, DeSantis became

AutoLend‘s president and chairman of_the board.

18. By September 1996; AutoLend had sold all of its
viatical settlement business and other operations and had
no ongoing operations. AutoLend was collecting account
receivables held from previous operations and had amassed
cash of approximately 313 million. AutoLend was seeking to
acquire an ongoing business. In addition} AutoLend had
obligations of approximately $21 million of outstanding

Bonds.

19. To preserve AutoLend’s available cash to finance

an acquisition, AutoLend withheld the September 1996

 

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interest payment on the Bonds, despite having sufficient

cash available to make the payment.

20. To further preserve funds, DeSantis then caused
AutoLend to make a self tender_offer. On October 22, 1996,
Autohend, through DeSantis, filed with the Commission a
Schedule 13E-4,d1ssuer Tender Offer Statement {“Schedule
13E-4”), which proposed an exchange of the Bonds for a
package of AutoLend’s low valued common stock and newly

issued preferred stock (“the Exchange Offer”) in AutoLend.

21. The stated purpose of-the Exchange Offer was to

acquire an ongoing revenue generating business operation.

22. By signing the Schedule 13E-4 and its amendments,
DeSantis certified that the information in the filings was

true, correct, and complete.

23. On November.l,.1996} DeSantis’ plan.for.AutoLendl
to acquire an ongoing business was interrupted when four
bondholders (“the Petitioning.Bondholders”) filed an
involuntary bankruptcy petition against AutoLend. The
Petitioning Bondholders held approximately $6,600,000 of
Bonds and had demanded cash of approximately 75% of face
value for their Bonds instead of accepting the terms of the

Exchange Offer.

24. Because of the involuntary bankruptcy, DeSantis
caused AutoLend to file several amendments to the tender

offer to extend the date on which the Exchange Offer

 

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expired or closed. The tender offer, as amended, closed on

npr'ii a, 1997.

25. At or before the time the bankruptcy proceeding
was filed, DeSantis had identified a business that he

wanted hutoLend to acquire.by using its cash assets.

Failure To Disclose Improper Negotiations With Bondholders
And The Sham Purchases Of Certain Bonds

 

26;` While the Exchange Offer was pending, AutoLend’s
executive vice president and treasurer, at DeSantis’
direction, contacted bondholders who had not accepted the
Exchange Offer to determine at what price, if any, they

would be willing to sell their Bonds for cash.

27. DeSantis and AutoLend failed to disclose in the
initial Exchange offer filing or any of its amendments the
above»described efforts it made to arrange to purchase
Bonds for cash rather than on the terms set forth in the

Exchange Offer.

28. On January 8, 1997, the Petitioning Bondholders
llearnedfrom AutoLend’s counsel that DeSantis intended to
use hutoLend's cash to fund the purchase of the.targeted
business and on January 13, 1997, the Petitioning
Bondholders obtained a.Temporary Restraining Order (“TRO”)
from the bankruptcy court prohibiting AutoLend from using

any of its cash in connection with any such purchase.

_ 29. After the TRO was entered, Desantis learned from

the Petitioning Bondholders that they would consider

  

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dismissing the bankruptcy if an independent third party

purchased their Bonds.

30. Thereafter, DeSantis took action to get the
involuntary bankruptcy dismissed by arranging a sham sale

of the Petitioning Bondholders’ Bonds.

31. DeSantis asked an investment banker to find a
“buyer”'for the Petitioning Bondholders’ Bonds, with the
understanding_that hutoLend would purchase the buyer's
position in the Bonds at a premium after the Exchange Offer

closed and the involuntary bankruptcy was dismissed.

32. DeSantis and AutoLend failed to disclose to the
Petitioning Bondholders and others that the third party
buyer was merely a straw man and that the transaction was,

thereforep a sham.

33. The third party purchase was a sham because of
.two other undisclosed agreements that-DeSantis caused
AutoLend to enter, referred to as the secret agreement and

the Tripartite Agreement.

34. The secret agreement that Desantie had with the
investment banker and, possibly, the purchaser (“the
Purchaser”) was that AutoLend would purchase the Bonds from
the Purchaser after the Exchange foer closed and the
bankruptcy was dismissed but before maturity, at a premium
over the purchase price. This secret agreement created a

nearly risk~free transaction for the Purchaser.

 

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35. On February 24, 1997, the Purchaser, AutoLend and
the investment banker entered the Tripartite Agreement,
which, on its_face, obligated the investment banker to
purchase the Bonds from the Purchaser at a set price plus
an escalating premium determined by the period of time that
the Purchaser held the Bonds or pay liquidated damages of
$750,000. Although the Tripartite Agreement obligated the
investment banker to purchase the Bonds, each of the
parties to the Tripartite Agreement understood that
AutoLend was the party who would purchase the Bonds from
the Purchaser after the bankruptcy was dismissed and the

Exchange Offer closed.

36. Furthermore, the Tripartite Agreement also
obligated AutoLehd to, among_other things, maintain cash'
and cash equivalents of no less than $11 million for as
` long as the Purchaser owned the Bonds, which effectively
prohibited AutoLend'from acquiring any ongoing business as

long as the Purchaser owned the Bonds.

37. In furtherance of the secret agreement with the
investment banker, DeSantis executed for its benefit a
letter of indemnification from loss resulting from the
Tripartite Agreement. The indemnification agreement
acknowledged that DeSantis executed it in consideration of
the investment banker's executing and delivering the

Tripartite Agreement to the Purchaser.-

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38. DeSantis and AutoLend failed to amend the
Exchange Offer materials to disclose either the secret or

the Tripartite Agreement.

39. _The sale of the Bonds led to the dismissal of the

involuntary bankruptcy on hpril 18, 1997.

40, On April 8, 1997, the Exchange Offer closed and
several bondholders tendered approximately $7.6 million of

Bonds for`exchange.

41. On July 10, 1997, in accordance with the
Tripartite Agreement, AutoLend purchased the Petitioning
Bondholder’s Bonds from the Purchaser for $4.95 million

($4.65 million purchase price plus a $300,000 premium).

42.~ hutoLend and DeSantis knew, or were reckless in
not knowing, of the activities described in Paragraphs 1

through 41 above.
Failure To Disclose Related Party Transactions

43. From October 1996 through January 1997, DeSantis
caused AutoLend to engage in undisclosed related party

transactions.

44. ln the fiscal year ended March 1997, DeSantis
caused AutoLend to pay certain personal expenses of
DeSantis that exceeded, in January 1997, $60,000. DeSantis
caused AutoLend to fail to disclose these expenses after
they exceeded $60,000 for the fiscal year in its annual

report (Form 10-K) for the period ended March 31, 1996, as

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required by ltem 404 of Regulation S~K [ll C.F.R. §

229.404}.

451 ln the fiscal year ended March 1997, DeSantis
also caused AutoLend to pay certain unrelated business
`expenses of a company owned by DeSantis that exceeded, in
December 1996, $60,000. DeSantis caused Autobend to fail
to disclose these expenses after they exceeded $60,000 for
the fiscal year in its quarterly report (Form lO-Q) for the
period ended December 31, 1996 and annual report (Form 10-
K) for the period ended March 31, 1997, as required by ltem

404 of Regulation S-K [17 C.F.R..§,229.404]._

46. DeSantis signed the Form 10-K and Form 10-Q

described above.

47. hutoLend and DeSantis knew, or were reckless in
not knowing, of the activities described in Paragraphs 1

through 46 above.

FIRST'CLAIM FOR RELIEF

 

(against DeSantis and ITB for.Violations
of Section 10(b) and Rule 10b-5
of the Exchange Act)

48. Plaintiff SEC hereby incorporates paragraphs 1
through 47 with the same force and effect as if set out

here.

49.` In the manner described in paragraphs 1 through
48, DeSantis, in connection with the purchase and sale of

the Bonds described above, by the use of the means and

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instrumentalities of interstate commerce and of the mails,
directly or indirectly, employed devices, schemes and
artifices to defraud; made untrue statements of material
fact or omitted to state material facts necessary in order
to make the statements made, in light of the circumstances
under which they were made, not misleading; or engaged in
acts, practices and courses of business which operated as a
fraud and deceit upon purchasers and sellers of the Bonds,
in violation of Section 10(b) of the Exchange Act [15
U.S.C. §TSj(b)] and Rule 10b-5 promulgated thereunder [17

C.F.R. §240.lOb-5].

50. ln the manner described in paragraphs 1 through
49, ITB, in connection with the purchase or sale of
securities, by the use of means or instrumentalities of
interstate commerce or of the mails, directly or indirectly
(a) employed devices, schemes or artifices to defraud; {b)
made untrue statements of material facts or omitted to
state material-facts necessary in order to make the
statements made, in light of the circumstances under which
they were made, not misleading; or (c) engaged in acts,
practices or courses of business which operated or would
operate as a fraud or deceit upon persons, in violation of
_seetien,10<by et the axeheege net {15 n.s.c. § iaj(t)] esa
Rule 10be5 promulgated there under [17 C.F.R. § 240.10b-5],
and DeSantis aided and abetted ITBFs primary violations

pursuant to Section 20(e) of the Exchange Act {15 U.S.C.

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Section 78t(e)] by knowingly providing substantial

assistance thereto.

SECOND CLAIM FOR RELIEF

 

(against ITB and DeSantis for Violations
of Sections 13(a) and Rules 12b-20, 13a»1
and 13a-13 of the Exchange Act)

51. Plaintiff SEC hereby incorporates paragraphs 1
through 50 with the same force and effect as if set out

lhere.

52. In the manner described in Paragraphs 1 through
51, irs fi1ea with the sac materially_talee aaa misleading
Forms 10-Q for the quarters ended December 31, 1996, and
watch 31, 1997} in vielatien of_sectiens 13(a) of the
Exchange hot [15 U.S.C. §_78m(a)] and Rules 12b-20 and 13a-
13 promulgated thereunder [17 C.F.R. §§ 240.12b-20 and
240.13a-13], and DeSantis aided and abetted ITB's primary
violations pursuant to_Section 20(e) of the Exchange Act
[15 U.S.C. Section 78t(e}l by knowingly providing

substantial assistance thereto.

53. ln the manner described in paragraphs 1 through
522 Autobend filed with the SEC a materially false and
misleading Form 10-K for the year ending March 31, 1997 and
a materially false and misleading Form 10-Q for the quarter
ended December 31, 1996, in violation of Section 13(a) of
tte.EXehanqe set [15,U.s.c. siem(a)] aaa sales 13a-1 ana

13a-ia iii c.F.a. §§240.13a-1 and 240_13a-13} promulgated

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thereunder, and DeSantis aided and abetted AutoLend’s
primary violations pursuant to Section 20(e) of the
Exchange Act [15 U.S.C. Section 78t(e)] by knowingly

providing substantial assistance thereto.

THIRD CLAIM FOR RELIEF

 

(against ITB and DeSantis for Violations
of Sections 13(b}(2)(A) and 13(b)(2)(B)
of the Exchange Act)

54. Plaintiff SEC hereby incorporates paragraphs 1
through 53 with-the same force and effect as if set out

here.

`55. In the manner described in paragraphs l through
=54, ITB (a) failed to make and keep books, records and
accounts, which, in reasonable detail, accurately and
fairly reflect the transactions and dispositions of the
assets of the company, and (b) failed to devise and
maintain a system of internal accounting controls
sufficient to provide reasonable assurances that (i)
transactions were executed in accordance with management's
'general or specific authorization, (ii) transactions are
recorded as necessary to permit preparation of financial
statements in conformity with generally accepted accounting
-principles_or any other criteria applicable to such
statements and to maintain accountability for assets, (iii)
access to assets is permitted only in accordance with
management’s general or specific authorization, and (iv)

the recorded accountability for assets is compared with the

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existing assets at reasonable intervals and appropriate
action is taken with respect to any differences, in
violation of sections la{b) (2) (A) and 13(1:>) (2)(13) of the
.Exchange Act [l§.U.S.C. §§ 78m(bj(2)(A) and 78m(b)(2)(B)],
and DeSantis aided and abetted ITB‘s primary violation of
Section 13{b)(2}(A) pursuant to Section ZO(e) of the
Exchange Act [15 U.S.C. section 78t(e)] by knowingly'

providing substantial assistance thereto.

FOURTH CLAIM FOR RELIEF
(against DeSantis for Violations

of Rule 10b-13 of the Exchange Act
of the Exchange Act)

56. Plaintiff SEC hereby incorporates paragraphs 1
through 55 with the same force and effect as if set out'

here.

57. In the manner described in paragraphs 1 through
56, DeSantis caused AutoLend to make an exchange offer for
the Bonds described above and, directly or indirectlyy
purchased or made an arrangement to purchase the Bonds,
otherwise than pursuant to the exchange offer from the time
such exchange offer was publicly announced or otherwise
made known by DeSantis to the bondholders until the
expiration of the period, including any extensions thereof,
during which the Bonds tendered pursuant to such exchange

offer may have by the terms of such offer been accepted or

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rejected, in violation of Rule 10b-13 of the Exchange Act

[l7 c.F.a. §zlo.lob~lgj.l

FIFTH CLAIM FOR RELIEF

 

(against DeSantis for Aiding and Abetting_
Violations of Section l4(e)
of the Exchange Act)

58. Plaintiff SEC hereby incorporates paragraphs 1
through 57 with the same force and effect as if set out

here.

59. In the manner described in paragraphs 1 through
58, AutoLend, in connection with the Exchange Offer for the
Bonds described above, made untrue statements of material
fact or omitted to state material facts necessary in order
to make the statements made, in the light of the"
circumstances under which they were made, not misleading,
or engaged in fraudulent, deceptive, or manipulative acts

or practices in violation of Section-14(e) of the Exchange

 

1 On October 22, 1999, as part of a comprehensive revision

to the rules applicable to takeovers, the Commission
redesignated Rule 10b-13 as Rule 14e-5. Rule 14e-5 governs
tender offers that are announced after January 24, 2000.
Rule 10b-13 governs all cases where the tender offer was
announced before January 24, 2000, regardless of when the
prohibited activity occurred. This action is against
DeSantis under Rule 10b-13 because all of the conduct at
issue in this case occurred before January 24, 2000.
Although Rule-lub~13 governs the conduct here, an
injunction would proscribe future violations of Rule 14e-5.

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Act [15 U.S.C. §78n(e)}, and DeSantis aided and abetted

`AutoLend‘s primary violation pursuant to Section ZO(e) of

the Exchange Act [15 U.S.C. section 78t(e)] by knowingly

providing substantial assistance thereto¢

SIX'I`H CLAIM FOR RELIEF

 

(against DeSantiS for Aiding and Abetting
Violations of Section 13(e) and Rule l3e-4(b)
of the Exchange Act)

60. Plaintiff SEC hereby incorporates paragraphs 1

`through 59 with the same force and effect as if set out

.here.

61. In the manner.described in paragraphs 1 through

60, AutoLend, as the issuer of a security registered

'pursuant to Section 12 of the Exchange Act [15 U.S.C.

§781], directly or inaireotly; in connection with the,
tender offer for the Bonds described above, purchased such

bonds by: employing devices, schemes or artifices to

idefraud; making untrue statements of material fact or

omitting to state material facts necessary in order to make
the statements made, in light of the circumstances under
which they were made, not misleading; or engaged in acts,
practices, or courses of business that operated as a fraud
or deceit on purchasers or sellers of the bonds, in
violation of.Section 13(e) of the Exchange Act [15 U.S.C.

§78m(e}]-and,Rule l3e-4(b) promulgated thereunder {17

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C.F.R. §240.13e-4],2 and DeSantis aided and abetted
AutoLend’s primary violations pursuant to Section 20(e) of1
`the Exchange Act [15 U.S.C_ section 78t(e)] by knowingly

providing substantial assistance thereto.

PRAYER FOR-RELIEF

 

WHEREFORE, the SEC respectfully requests that this

nCourt:
i

Permanently enjoin De$antis, his agentsy servants,
employees, attorneys, and all persons in active concert or
participation with him who receive actual notice by
personal service or otherwise, from violating, directly or
indirectly, Section 10(b) of the Exchange Act [15 U.S.C. §
7Bj(b)l and.Rules 10b-5 and lee-5 (formerly Rule 10bj13}
-[li c F.R. §§ 240.lob_5 and 240.14a-5], and aiding and
abetting violations of Sections 10(b), lB(a), 13(b)(2)(A),
13(e) and l4(e).of the Exchange Act [15 U.S.C. §§ 7Sj(b),
73m`(A) , vsm(b) (2) (A)-, vsm(a) and 73n(a)] and nolan lob~s,
12b-20, 13a-1, 13a-13 and 13e-4(j) (formerly Rule 13e-4(b))

1promulgated thereunder [17 C.F.R. §§ 240.10b¢5, 240.12b~20,

 

2 On October 22, 1999, as part of a comprehensive revision

to the rules applicable to takeovers, the Commission
redesignated Rule 13e-4(b} as Rule 13e-4(j), effective on
January 24, ZGOO. Although Rule 13e-4(b) governs the
conduct here, an injunction would proscribe future
violations of Rule 13e-4(j).

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240,13a~13 and 240.13e-4(j)], pursuant to-Section 20{e) of

the Exchange Act [15 U.S.C. Section 7St(e)].
` II

`Permanently enjoin ITB, its officers, agents,
servants, employeesI attorneysr and all persons in active
concert or participation with it who receive actual notice
_by personal service or otherwise; from violating, directly
or indirectly, Sections lO(b), 13(a}, 13{b)(2)(h} and
lB(b)(Z)(B)_of the Exchange.hct [15 U-S.C..§§ 78j(b),
vsm(A) , 7sm(1o) (2)`(A) and 7sm(b) (2) (s)]'-and miles lob-s,

12b-2O and 13a-13 promulgated thereunder [17 C.FaR. §§

240.lOb-5, 240.12b-20 and 240.13&"13].
III

Order DeSantis to pay a civil penalty pursuant to
Section'Zl(d){B) of the Exchange,Act [15 U.S.C. §

78u(d)(3)].
IV

Enter an order prohibiting DeSantis from acting as an
officer or director of any issuer required to file reports
pursuant to Sections 12(b), 12(g) or 15(d) of the Exchange
Act, pursuant to Section_Zl(d)(Z) of the Exchange act [15
U.S.C. § 78u(d)(2)], as a result of his violations of`
Section lO(b) of the Exchange Act and Rule 10b-5

thereunder.

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` V

Grant such other relief as this Court may deem just

and proper.

Dated: February 12, 2002

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